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                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION


           UNITED STATES OF AMERICA,


                 v.
                                                       CRIMINAL ACTION NO.
           OPEOLUWA ADIGUN,                            1:1 0-CR-202-1-RWS


                 Defendant.


                                               ORDER


                 This matter is before the Court on the Report and Recommendation of


           Magistrate Judge Russell G. Vineyard [Doc. No. 384]. No objections have been


           filed thereto.    Having carefully considered the record and the Report and


           Recommendation, the Report and Recommendation [Doc. No. 384] is hereby


           approved and adopted as the opinion and order of this Court. As such, the Motion


           to Vacate Sentence [Doc. No. 366] is DENIED, and a Certificate of Appealability


           is DENIED.


                 SO ORDERED, this      ;i!!aay of April, 2016.




                                                 United States District Judge




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